Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 1 of 30




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

       KERRY ROTH, on behalf of herself and
       all others similarly situated,
                                                          CASE NO. 16-cv-62942WPD
              Plaintiff,

       v.

       GEICO GENERAL INSURANCE
       COMPANY,

             Defendant.
       ____________________________________/


       MARIANNE JOFFE, DEBBE SCHERTZER,
       and STEPHANIE RODRIGUEZ, individually              CASE NO. 18-cv-61361-WPD
       and on behalf of all others similarly situated,

                                     Plaintiffs,

       v.

       GEICO INDEMNITY COMPANY,
       GOVERNMENT EMPLOYEES
       INSURANCE COMPANY and GEICO
       GENERAL INSURANCE COMPANY,

                                     Defendants.

                                FINAL ORDER AND JUDGMENT
                       GRANTING FINAL APPROVAL OF CLASS SETTLEMENT

             THIS CAUSE is before the Court on Plaintiffs’ Unopposed Motion for Final Approval

      of Proposed Global Class Action Settlement [DE 373] and Plaintiffs’ Unopposed Motion for

      Attorneys’ Fees, Costs, and Service Awards [DE 369]. The Court held a Fairness Hearing on

      February 5, 2021, which was attended by counsel for Plaintiffs and Defendants. See [DE 374].

      The Court has carefully considered the Motions, Magistrate Judge Snow’s Report and
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 2 of 30




      Recommendation recommending that Plaintiffs’ Unopposed Motion for Attorneys’ Fees,

      Costs, and Service Awards [DE 369], the argument of counsel, and is otherwise fully advised

      in the premises.

             Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

             WHEREAS Plaintiffs Kerry Roth, Marianne Joffe, Debbe Schertzer, and Stephanie

      Rodriguez (the “Named Plaintiffs”), individually and as Class Representatives on behalf of a

      proposed Settlement Class (collectively, “Plaintiffs”), and Defendants Government Employees

      Insurance Company, GEICO General Insurance Company, and GEICO Indemnity Company

      (collectively, “GEICO”), acting by and through their respective counsel, have agreed, subject

      to Court approval, to settle these consolidated Actions upon the terms and conditions stated in

      the Class Action Settlement Agreement filed with the Court on July 17, 2020 (the “Settlement

      Agreement” or “Agreement”);

             WHEREAS, this Court granted preliminarily approval (DE 368) of the Settlement

      Agreement on August 28, 2020 (including the attachments thereto), and directed that Notice

      be provided in accordance with the terms of the Agreement thereby providing the opportunity

      for Class Members to evaluate the Agreement’s terms and to submit a claim, request exclusion,

      or submit an objection, and set a final approval Fairness Hearing for February 5, 2021;

             WHEREAS, this Court ordered that Mailed Notices, Claim Forms, Emailed Notices,

      and a Longform notice in the form attached to the Settlement Agreement, be directed to Class

      Members pursuant to the terms of the Settlement Agreement;

             WHEREAS, the Parties have demonstrated that the Notice plan was completed in

      accordance with the terms of the Settlement Agreement and pursuant to this Court’s Order;




                                                    2
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 3 of 30




             WHEREAS, in accordance with the Notice, a final fairness Hearing was conducted on

      February 5, 2021, during which this Court considered (1) the fairness, adequacy, and

      reasonableness of the Settlement Agreement terms under Fed. R. Civ. P. 23(e), (2) whether

      certification of the Settlement Class was proper under Rule 23; and (3) whether the attorneys’

      fees, costs, and incentive awards sought were fair and reasonable under Rule 23(h);

             WHEREAS, the Motion for Attorneys’ Fees, Costs, and Service Awards were

      submitted to Magistrate Judge for a Report & Recommendation;

             WHEREAS, there were no objections to the Motion by any party, Class Member, or

      non-Class Member, and, after due consideration, Magistrate Judge Lurana S. Snow issued a

      Report & Recommendation (“R&R”) (DE 371) on October 8, 2020, finding the fees, costs,

      and incentive award were fair and reasonable, and recommending the Motion be granted;

              WHEREAS, this Court has fulfilled its duty to analyze the fairness, reasonableness,

      and adequacy of the proposed Settlement Agreement and the Motion for Attorneys’ Fees,

      Costs, and Service Awards by considering not only the filings and arguments of Plaintiffs,

      Class Counsel, and Defendants, but also by independently evaluating the Settlement

      Agreement and Class Counsel’s Motion for Fees, Costs, and Service Awards, as well as the

      R&R issued by Magistrate Judge Snow;

             WHEREAS, by performing this independent analysis of the Motion for Final Approval,

      the Settlement Agreement (which provided Settlement Class Members with greater than 100%

      of the recovery requested in the complaints) as well as Class Counsel’s Motion for Attorneys’

      Fees, Costs, and Service Awards (which provided fees, costs, and incentive awards in addition

      to Class Member recovery, and which did not diminish or reduce Class Member recovery), the




                                                    3
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 4 of 30




      Court considered and protected the interests of all absent Settlement Class Members under

      Fed. R. Civ. P. 23;

             WHEREAS, the Mailed and Emailed Notices advised Settlement Class Members of

      the method by which Class Members could opt out from the proposed Settlement and

      Settlement Class, and independently pursue an individual legal remedy against Defendants;

             WHEREAS, pursuant to the Settlement Agreement and this Court’s Order, all

      Settlement Class Members maintained the absolute right to request exclusion and pursue an

      individual lawsuit against Defendants;

             WHEREAS, any Settlement Class Member who failed to request exclusion under the

      terms of the Settlement Agreement and as explained in the Mailed, Emailed, and Longform

      Notices voluntarily waived the right to pursue an independent remedy against Defendants;

             WHEREAS, the Mailed, Emailed, and Longform Notices advised Settlement Class

      Members of the method by which Class Members could file objections to the Settlement

      Agreement, including the terms of the Agreement or the amount of attorneys’ fees, costs, or

      incentive awards, and any timely objectors could request to be heard at the final Fairness

      Hearing;

             WHEREAS, no Class Members or non-Class Members have filed any objections at any

      time or as to any issue;

             NOW, THEREFORE, based upon the Settlement Agreement, all files, records, and

      proceedings herein, statements of counsel, including those set forth in the Motion for Final

      Approval and the Motion for Attorneys’ Fees, Costs, and Service Awards, along with the

      declarations affixed thereto, and upon the Hearing conducted on February 5, 2021, this Court




                                                   4
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 5 of 30




      finds and concludes as follows:

         1. The Settlement Agreement (including its Exhibits) is hereby incorporated by reference

             in this Order, and all terms defined in the Agreement have the same meanings in this

             Order.

         2. This Court possesses jurisdiction over the subject matter of this Action and over all

             Parties to this Action, including the Named Plaintiffs and all Settlement Class

             Members.

         3. On August 28, 2020, this Court entered an Order preliminarily certifying the Settlement

             Class, in which this Court found that (1) the negotiations prior to the Agreement

             occurred at arm’s length, (2) there was significant and sufficient discovery in this case

             prior to settlement, and (3) the proponents of the Settlement Agreement were

             experienced in similar litigation. The Court preliminarily approved the Agreement

             (including Exhibits), and found the proposed Agreement was sufficiently fair,

             reasonable, and adequate to warrant providing notice to the Settlement Class. See [DE

             368].

         4. As set forth in the Order of preliminary approval (DE 368), this Court previously

             certified a class in each of the consolidated actions. See Roth DE 165; Joffe DE 52.

             The Parties propose a Settlement Class defined, with some immaterial alterations,

             essentially the same as the Classes previously certified by this Court, except that the

             Settlement Class includes additional insureds not included in the Roth class and other

             additional insureds who sustained a total loss to their insured leased vehicle subsequent

             to the date of this Court’s orders certifying the Classes, and through August 1, 2020.




                                                     5
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 6 of 30




            For purposes of determining whether the terms of the proposed Settlement Agreement

            should be finally approved as fair, reasonable and adequate, the following Settlement

            Class was preliminarily certified for settlement purposes only (and GEICO retained all

            rights to assert, if this settlement is not consummated, that this Court’s previous Orders

            on class certification were incorrectly decided):

                    All Florida policyholders who were insured (1) by GEICO
                    General for private passenger auto physical damage coverage
                    who suffered a first-party loss of a covered leased (i.e., not
                    owned) vehicle at any time from August 30, 2011 through
                    August 1, 2020, whose claims were adjusted by GEICO General
                    as a Total Loss and resulted in payment by GEICO of a covered
                    claim, and who were not paid full Sales Tax and/or full Title and
                    Tag Transfer Fees; and (2) by GEICO Indemnity and
                    Government Employees for private passenger auto physical
                    damage coverage who suffered a first-party loss of a covered
                    leased (i.e., not owned) vehicle at any time from June 15, 2013
                    through August 1, 2020, whose claims were adjusted by GEICO
                    as a Total Loss and resulted in payment by GEICO of a covered
                    claim, and who were not paid full Sales Tax and/or full Title and
                    Tag Transfer Fees.

         5. Those excluded from the Class are set forth in paragraph I. uu of the Agreement.

         6. The Court further found that, for purposes of settlement, the Named Plaintiffs

            possessed Article III standing and that the Class was adequately defined and clearly

            ascertainable, that the Rule 23(a) prerequisites were satisfied, and that the Rule 23(b)(3)

            factors favored certification of the Settlement Class.

         7. The Court hereby reaffirms this definition of the Settlement Class for purposes of this

            Final Order and Judgment and certifies this Action, for settlement purposes only, as a

            Class Action. For the reasons set forth in this Court’s Orders Granting Class

            Certification (Roth DE 165; Joffe DE 52) and the Order Preliminarily Approving Class



                                                    6
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 7 of 30




            Settlement (DE 368), for purposes of settlement, the Settlement Class as defined above

            is adequately defined and clearly ascertainable, and record evidence demonstrates the

            numerosity, commonality, typicality, and adequacy prerequisites are satisfied, common

            questions of law and fact predominate over any individual questions, and class

            treatment is superior to any alternative method of adjudication.

         8. In amending Rule 23 in 2018, the Advisory Committee clarified that when considering

            a proposed Settlement Agreement for members of a Class already certified by a court,

            “the only information ordinarily necessary is whether the proposed settlement calls for

            any change in the class certified, or of the claims, defenses, or issues regarding which

            certification was granted.” See Fed. R. Civ. P. 23(e)(1)(B) Committee Notes on

            Amendment – 2018. Here, as explained in the Order of preliminary approval, the

            Settlement Class expands the number of Settlement Class Members and the class period

            to include insureds who suffered a total loss through August 1, 2020, and is otherwise

            materially identical to the litigated class definitions set forth in Roth and Joffe. As such,

            the proposed Settlement Class is certifiable for the reasons set forth in this Court’s

            previous Orders certifying the Class.

         9. Such finding should not be deemed an admission by GEICO of liability or fault or a

            finding of the validity of claims asserted in the Action or of any wrongdoing by GEICO.

            Neither the terms and provisions of the Agreement nor any of the negotiations or

            proceedings connected with it shall be construed as an admission or concession by the

            Released Persons of the truth of the allegations made in the Action, or of any liability,

            fault, or wrongdoing on the part of the Released Persons.




                                                     7
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 8 of 30




         10. Kerry Roth, Marianne Joffe, Debbe Schertzer, and Stephanie Rodriguez, all of whom

            sufficiently demonstrated Article III standing and satisfied Rule 23(a)(4)’s adequacy

            prerequisite, are appointed representatives of the Settlement Class (“Class

            Representatives”).

         11. Having also satisfied the adequacy prerequisite prescribed by Rule 23(a)(4), the

            following attorneys are appointed as counsel for the Settlement Class (“Class

            Counsel”):

            Edmund Normand, Esq.
            Normand PLLC
            3165 McCrory Place, Suite 175
            Orlando, FL 32803
            Telephone: (407) 603-6031
            Facsimile: (888) 974-2175
            Ed@ednormand.com

            Jacob Phillips, Esq.
            Normand PLLC
            3165 McCrory Place, Suite 175
            Orlando, FL, 32803
            Telephone: (407) 603-6031
            Facsimile: (888) 974-2175
            Jacob.phillips@normandpllc.com

            Christopher J. Lynch
            Christopher J. Lynch, P.A.
            6915 Red Road, Suite 208
            Coral Gables, Florida 33143
            Telephone: (305) 443-6200
            Facsimile: (305) 443-6204
            clynch@hunterlynchlaw.com

            Christopher B. Hall
            Hall & Lampros, LLP
            400 Galleria Parkway, Suite 1150
            Atlanta, Georgia 30339
            Phone: (404) 876-8100
            Facsimile: (404) 876-3477



                                                  8
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 9 of 30




            chall@hallandlampros.com

            Andrew Lampros
            Hall & Lampros, LLP
            400 Galleria Parkway, Suite 1150
            Atlanta, Georgia 30339
            Phone: (404) 876-8100
            Facsimile: (404) 876-3477
            alampros@hallandlampros.com

            Tracy L. Markham
            Southern Atlantic Law Group, PLLC
            2800 N. 5th Street, Suite 302
            St. Augustine, Florida 32084
            Phone: (904) 794-7005
            Facsimile: (904) 794-7007
            tlm@southernatlanticlawgroup.com

            Bradley W. Pratt
            Pratt Clay, LLC
            4401 Northside Parkway, Suite 520
            Atlanta, Georgia 30327
            Telephone: (404) 949-8118
            Facsimile: (404) 949-8159
            bradley@prattclay.com

         12. This Order shall not be used as evidence or be interpreted in any way to be relevant to

            whether litigation classes or the previously certified Classes should be or should have

            been certified for class treatment.

         13. On August 28, 2020, the Court approved the Mail Notice Form, E-Mail Notice Forms,

            Longform Notice, Claim Form, and Electronic Claim Form (including blank forms of

            both), submitted to the Court as Exhibits 2 through 8 to the proposed Settlement

            Agreement, and directed that the Notices and Claim Forms be sent in the manner set

            forth in the Agreement, including the procedures for Notices returned as undelivered

            or due to an incorrect address.




                                                    9
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 10 of 30




         14. On January 18, 2021, the Parties submitted evidence that the Notice plan and the

            settlement website, which informed Settlement Class members of the terms of the

            proposed Settlement Agreement and of their right and opportunity to request exclusion

            from the Settlement Class and to object to the terms of the Agreement, were

            disseminated and posted pursuant to and in compliance with the Order granting

            preliminary approval. Specifically, the Court received a declaration from Jennifer M.

            Keough, CEO of the Settlement Administrator, which detailed the scope and results of

            the Notice plan. See [DE 372-1].

         15. The adequacy and sufficiency of the Notice campaign is demonstrated by the fact that

            (1) out of 17,498 mailed notices to Settlement Class Members, 16,922 received the

            direct notice via first-class mail, including approximately 1,300 whose original address

            was successfully updated following an initial return as undeliverable, (2) 13,823

            Settlement Class Members who had not yet submitted a claim received a second direct

            notice via first-class mail prior to expiration of the Claim Deadline, (3) 13,556

            Settlement Class Members were sent a first Email Notice, of which 13,373 emails were

            delivered successfully; and (4) 10,537 Settlement Class Members who had not

            submitted a claim were sent a second Email Notice, of which 9,206 emails were

            delivered successfully . DE 372-1 at ⁋⁋ 7-12

         16. The adequacy and sufficiency of the Notice campaign is also demonstrated by the fact

            that approximately 4,850 Settlement Class Members submitted claims, which

            constitutes a claims rate of 27.72%. DE 372-1 at ⁋⁋ 26-27. This is a significant claims

            rate and exceeds the rate seen in the majority of similarly structured settlements. See




                                                   10
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 11 of 30




            Consumers and Class Actions: A Retrospective and Analysis of Settlement Campaigns,

            Federal       Trade        Commission,         September         2019,        at     11,

            https://www.ftc.gov/reports/consumers-class-actions-retrospective-analysis-

            settlement-campaigns (median claims rate is 9% and weighted mean (cases weighted

            by the number of notice recipients) is 4%). See, e.g., Poertner v. Gillette Co., 618 Fed.

            Appx. 624, 625-26 (11th Cir. 2015) (approving settlement with claims rate of less than

            1%); In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 941, 944-45 (9th Cir.

            2015) (approving settlement with claims rate of less than 4%); Perez v. Asurion Corp.,

            501 F. Supp. 2d 1360, 1377-78 (S.D. Fla. 2007) (approving settlement with claims rate

            of approximately 1.1%). Sullivan v. DB Invs., Inc., 667 F.3d 273, 329 n.60 (3d Cir.

            2011) (en banc) (noting that claims rates in consumer class action settlements “rarely”

            exceed 7%, “even with the most extensive notice campaigns”).

         17. As such, and as confirmed based on review of the evidence submitted and arguments

            asserted by counsel, the Court finds that the notice provided to Settlement Class

            Members (i) was the best practicable notice under the circumstances; (ii) was calculated

            to apprise Settlement Class Members of the pendency of the Action and their right to

            object to or seek exclusion from the Proposed Settlement and to appear at the final

            Fairness Hearing; and (iii) was reasonable and constituted due, adequate, and sufficient

            notice to all persons entitled to receive notice. See Fed. R. Civ. P. 23(c)(2).

         18. Additionally, the Court finds and concludes that the Notice plan set forth in the

            Preliminary Approval Order and effectuated by the Parties complied with the

            requirements of Fed. R. Civ. P. 23, along with the due process requirements prescribed




                                                   11
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 12 of 30




            by the Florida and United States Constitutions. The Court further finds that the notice

            campaign stated in plain, easily understood language, inter alia, (a) the nature of the

            action; (b) the Settlement Class definition; (c) the claims and defenses at issue; (d) that

            Settlement Class Members could object to the proposed Settlement Agreement and

            could participate in person or through counsel; (e) the method by which Settlement

            Class Members could elect to be excluded from the proposed Settlement Agreement

            and Settlement Class, and that the Court will exclude any Class Members who timely

            and properly requested exclusion; and (f) the binding effect of final judgment on

            Settlement Class Members who did not request exclusion from the Settlement Class.

         19. For these reasons, the Notice as disseminated is finally approved as fair, reasonable,

            and adequate.

         20. The Court finds that the Class Action Fairness Act Notice provided on behalf of GEICO

            by the Settlement Administrator complied with 28 U.S.C. § 1715(b). None of the

            agencies to whom notice was provided objected to the settlement, which supports the

            fairness of the Settlement Agreement. See, e.g., Hamilton v. SunTrust Mortg, Inc., No.

            13-60749, 2014 U.S. Dist. LEXIS 154762, at *4 (S.D. Fla. Oct. 24, 2014) (finding that

            where “not a single state attorney general or regulator submitted an objection…such

            facts are overwhelming support for the settlement”).

         21. The Fairness Hearing and the evidence before the Court support a finding that the

            Agreement was entered in good faith between the Plaintiffs and Defendants.

            Specifically, the Court affirms its findings in the Order granting preliminary approval

            that negotiations occurred at arm’s length, that there was sufficient and extensive




                                                    12
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 13 of 30




            discovery prior to settlement, and that the Settlement Agreement is fair, reasonable,

            and adequate to Settlement Class Members, based on, inter alia, the absence of any

            objections.

         22. Based on the terms and conditions set forth in the Settlement Agreement, and given the

            benefits conferred by the Settlement Agreement to Settlement Class Members

            compared to the risks of continued prosecution and appeal, settlement of this Action is

            finally approved as fair, reasonable, adequate, and in the best interest of Settlement

            Class Members.

         23. Where a proposed settlement class complies with the Rule 23 requirements, this Circuit

            expresses a strong preference towards settlement of class litigation, and as such class

            settlements should be approved if the terms are “fair, adequate, reasonable, and not the

            product of collusion.” Leverso v. SouthTrust Bank, 18 F.3d 1527, 1530 (11th Cir.

            1994).

         24. The textual requirements for approval of proposed settlements are set forth in Rule

            23(e)(2), under which settlements may be approved if (i) the Class was adequately

            represented and the settlement was negotiated at arm’s length, and (ii) the relief

            provided is adequate under the factors outlined in Rule 23(e)(2)(C). The Court finds

            that these requirements are satisfied here.

         25. Rule 23 is intended to “focus the court and the lawyers on the core concerns” of whether

            a settlement is fair and reasonable, but not to eliminate the various circuits’ governing

            law on class action settlements. Fed. R. Civ. P. 23(e)(2) Committee Notes on

            Amendment – 2018. As such, the factors prescribed by Bennett v. Behring Corp., 737




                                                   13
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 14 of 30




             F.2d 982 (11th Cir. 1984) for courts to consider when evaluating the terms of a

             proposed settlement remain relevant. See Cook v. Gov't Emples. Ins. Co., 2020 U.S.

             Dist. LEXIS 111956, at *16-17 (M.D. Fla. Jun. 22, 2020) (explaining that Bennett

             factors are relevant “particularly to the extent not encompassed by the Rule 23(e)(2)(C)

             factors.”). These factors are: (1) likelihood of success at trial; (2) range of potential

             recovery; (3) the point on the range at which a settlement is fair, adequate, and

             reasonable; (4) complexity, expense, and duration of litigation; (5) nature of any

             opposition to the settlement; and (6) stage of proceedings when settlement occurred.

             Bennett, 737 F.2d at 986.

          26. The Rule 23(e)(2) threshold requirements – adequate representation and arm’s length

             negotiations – weigh in favor of settlement here. First, the question of adequate

             representation concerns whether the class representatives secured the information and

             knowledge of the relevant claims and defenses necessary to make an intelligent

             assessment of the pros and cons of potential settlement terms. Fed. R. Civ. P.

             23(e)(2)(A); see also Williams v. New Penn Fin., LLC, Case No.: 3:17-cv-570-J-

             25JRK, 2019 U.S. Dist. LEXIS 106268, at * (M.D. Fla. May 8, 2019) (adequacy

             requirement addresses whether class representatives had “adequate information base”

             to evaluate potential settlement terms). 1




      1
        As other courts have noted, this requirement essentially overlaps with the Bennett “stage of
      proceedings” factor, see Cook, 2020 U.S. Dist. LEXIS 111956, at *18 (citations omitted),
      which is also intended “to ensure that Plaintiffs had access to sufficient information to
      adequately evaluate the merits of the case and weigh the benefits of settlement against further
      litigation.” Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1324 (S.D. Fla. 2005).



                                                     14
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 15 of 30




         27. Settlement occurred at an advanced stage of litigation, after contested issues of class

            certification, discovery, and summary judgment were extensively briefed and litigated

            – indeed, in the Roth case, final judgment had already been entered, the appeal was

            fully briefed, and the case was on the eve of oral argument. Record evidence

            demonstrates that the Class Counsel evaluated voluminous discovery, including tens of

            thousands of pages of documents and millions of data inputs, and conducted dozens of

            depositions of fact and expert witnesses. Unquestionably, then, the Class

            Representatives and their Counsel were well-versed in the information necessary to

            evaluate the merits and benefits of settlement compared to the risk of further litigation.

            See Cook, 2020 U.S. Dist. LEXIS 111956, at *18-19 (adequacy requirement was

            “clearly” met where settlement was achieved after “voluminous discovery” and

            “numerous depositions” and after “class certification, discovery, and summary

            judgment were extensively briefed and litigated.”) (citing Grant v. Ocwen Loan

            Servicing, LLC, 2019 U.S. Dist. LEXIS 14673, at *14-15 (M.D. Fla. Jan. 29, 2019)).

         28. As such, the Court finds that the Class Representatives have satisfied the Rule

            23(e)(2)(A) “adequacy of representation” requirement, and further finds that the

            Bennett “stage of proceedings” weighs in favor of approving the Settlement

            Agreement.

         29. Additionally, the record evidence demonstrates the “arm’s length negotiations”

            requirement prescribed by Rule 23(e)(2)(A) is also satisfied here, particularly given

            that settlement occurred after extensive negotiations overseen by Rodney Max, a well-

            respected mediator. See, e.g., Brna v. Isle of Capri Casinos Inc., 2018 U.S. Dist. LEXIS




                                                   15
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 16 of 30




            26662, at *4-5 (S.D. Fla. Feb. 20, 2018) (Rodney Max’s involvement “serves to reject

            any notion that a resulting settlement was the product of collusion.”). Settlements that

            are achieved with the assistance and under the supervision of a neutral mediation are

            presumed to have occurred at arm’s length and to be free from collusion. See Ass'n for

            Disabled Ams., Inc. v. Amoco Oil Co., 211 F.R.D. 457, 470 (S.D. Fla. 2002) (Where

            the parties have negotiated at arm’s length, the Court should find that the settlement is

            not the product of collusion); McLaughlin on Class Actions § 6:7 (12th ed.) (“A

            settlement reached after a supervised mediation receives a presumption of

            reasonableness and the absence of collusion.”).

         30. Additionally, this Court notes that it directly observed the contested nature of this

            litigation. The Parties comprehensively disputed and litigated numerous issues of fact

            and law in motions and other practice at every stage of this litigation, and they

            thoroughly developed the factual disputes and legal questions at issue, all of which

            further confirms for the Court that the Settlement Agreement was free of any collusive

            effects. See, e.g., Diaz v. Hillsborough County Hosp. Auth., 2000 U.S. Dist. LEXIS

            14061, at *15-16 (M.D. Fla. Aug. 7, 2000) (years of contested litigation prior to

            settlement demonstrates lack of collusion).

         31. The Court therefore finds that the Rule 23(e)(2)(a) “arm’s length negotiations”

            procedural requirement is satisfied here.

         32. Turning to whether the substantive terms of the Settlement Agreement are fair and

            reasonable, Rule 23(e)(2)(C) prescribes the following factors for courts to analyze in

            evaluating a settlement’s terms: the risk of non-settlement, the method for processing




                                                   16
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 17 of 30




            claims and distributing relief, and the terms of attorneys’ fees. See Fed. R. Civ. P.

            23(e)(2)(C)(i)-(iii).

         33. The first factor – the “costs, risks, and delay of trial and appeal” – overlaps with the

            first four Bennett factors: (1) likelihood of success, (2) range of potential recovery, (3)

            where, on the range of potential recovery, the amount to which Class Members are

            entitled falls, and (4) the duration and length of litigation. See, e.g., Williams v. New

            Penn Fin., LLC, 2019 U.S. Dist. LEXIS 106268, at *11 (M.D. Fla. May 8, 2019). The

            question under Rule 23(e)(2)(C)(i) and the first four Bennett factors is whether class

            members’ potential recovery if ultimately successful on the merits, taking into account

            the risks of losing outright, is consistent with the relief provided by the proposed

            settlement agreement. See Cook, 2020 U.S. Dist. LEXIS 111956, at *20 (“[C]ourts

            should estimate the potential recovery if ultimately successful versus the risks of losing

            outright and determine whether the relief provided comports therewith.”). The question

            is not the amount of relief in a vacuum, but “whether that relief is reasonable when

            compared with the relief ‘plaintiffs would likely recover if successful, appropriately

            discounted for the risk of not prevailing.’” Burrow v. Forjas Taurus S.A., Case No. 16-

            21606-Civ-TORRES, 2019 U.S. Dist. LEXIS 151734, at *9 (S.D. Fla. Sep. 6, 2019)

            (citations omitted).

         34. The damages sought in the pleadings was ACV Sales Tax (i.e., sales tax calculated as

            6% of the adjusted vehicle value, plus applicable local surtax) and $75.25 in title fees,

            plus prejudgment interest. This was also the amount awarded by the Court in entering

            summary judgment and final judgment in the Roth case. Thus, potential recovery




                                                    17
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 18 of 30




            ranges from $0.00 (were Class Members to lose outright) to ACV Sales Tax and

            $75.25, plus prejudgment interest, for each Settlement Class Member. The Settlement

            Agreement provides the top amount of potential damages, plus an additional $4.60 in

            tag transfer fees, to every Settlement Class Member who submits a claim.

         35. As such, the place “on the range of potential recovery” in which the relief afforded falls

            is clearly adequate, as it exceeds the top of that range. See Lee v. Ocwen Loan Servicing,

            LLC, 2015 U.S. Dist. LEXIS 121998, at *7 (S.D. Fla. Sep. 14, 2015) (settlements that

            “provide near-complete relief to class members on a claims-made basis” are an

            “extraordinary result”); cf. Bennett, 737 F.2d at 987 n. 9 (approved settlement providing

            5.6% of the potential recoverable damages). The Court notes that, under the Settlement

            Agreement, GEICO agreed to change (and in fact has changed) their business practice

            and begin including ACV Sales Tax and at least $79.85 in Transfer Fees to all leased-

            vehicle total-loss insureds. See Figueroa v. Sharper Image Corp., 517 F. Supp. 2d

            1292, 1326 (S.D. Fla. 2007) (potential recovery and benefits “spans from a finding of

            non-liability” to “varying levels of injunctive relief” to monetary benefits).

         36. The Court also notes that the risk of no recovery at all is significant. While the Court

            granted class certification in Roth and Joffe, and granted summary judgment in Roth,

            every case carries a risk that success at the trial court level will be overturned by the

            appellate court. Not only is there no Florida Supreme Court or Florida appellate court

            directly on point, but the Seventh Circuit came to a different conclusion than this Court

            on an identical claim with virtually identical policy language, see Sigler v. Geico Cas.




                                                    18
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 19 of 30




            Co., 967 F.3d 658 (7th Cir. 2020), which highlights the risk facing the Settlement Class

            Member on appeal.

         37. Thus, the Court finds that Rule 23(e)(2)(C)(i) weighs in favor of approving the

            Settlement Agreement.

         38. The next substantive factor relevant to the terms of proposed settlement agreements is

            the method for “distributing relief” and “processing class-members claims.” Fed. R.

            Civ. P. 23(e)(2)(C)(ii). Here, the claims’ process and forms approved by the Court and

            implemented by the Parties was simple and straightforward. GEICO provided the

            information necessary to pre-fill the settlement claim forms, meaning that Settlement

            Class Members needed only to attest that the information was correct to the best of

            their knowledge (or update their address in the event they had moved). See Cook, 2020

            U.S. Dist. LEXIS 111956, at *22-23 (finding that similar method for claim processing

            weighed in favor of approval because it was “simple, streamlined, and straightforward)

            (citing Wilson v. Everbank, 2016 U.S. Dist. LEXIS 15751, 2016 WL 457011, at *9

            (S.D. Fla. Feb. 3, 2016) (finding significant that claim process “should take no more

            than a few minutes for the average claimant to complete”)).

         39. When preliminarily approving the proposed Settlement Agreement, DE 368, the Court

            addressed the claims-made structure, and explained that this structure did not

            undermine the fairness or adequacy of the Agreement. Upon further review of the

            claims process, this Court confirms such finding, and notes that it is well-established

            in this Circuit that a claims-made structure does not undermine the reasonableness of a

            settlement. See Poertner, 618 Fed. Appx. 624 (confirming approval of class settlement




                                                   19
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 20 of 30




            with less than 1% claims rate); see also, e.g., Hamilton v. SunTrust Mortg. Inc., 2014

            WL 5419507, at *6 (S.D. Fla. Oct. 24, 2014) (a claims-made structure does not impact

            the “fairness, reasonableness, or adequacy of proposed settlement.”); Bastian v. United

            Servs. Auto. Ass'n, 2017 U.S. Dist. LEXIS 180757 (M.D. Fla. Nov. 1, 2017) (approving

            similar claims-made settlement in class action concerning total-loss vehicles); Montoya

            v. PNC Bank, N.A., 2016 WL 1529902 (S.D. Fla. Apr. 13, 2016). This Court agrees

            with Judge Goodman that “[n]egotiating for a smaller amount to go to Class Members

            would, in effect, unfairly reward some Class Members for their own indifference at the

            expense of those who would take the minimal step of returning the simple Claim Form

            to receive the larger amount.” Lee v. Ocwen Loan Servicing, LLC, Case No. 14-cv-

            60649-GOODMAN, 2015 WL 5449813, at *18 (S.D. Fla. Sep. 14, 2015).

         40. The Court notes that GEICO made clear it would not have settled the case on a direct

            pay model and would instead have continued the appeal that had been pending (and

            was fully briefed) in the Eleventh Circuit. See Montoya v. PNC Bank, N.A., 2016 U.S.

            Dist. LEXIS 50315, at *49 (S.D. Fla. Apr. 13, 2016) (claims-made settlement offered

            the best and “only real relief” possible in settlement because defendants “would not

            have agreed” to direct pay structure). As such, the question is not whether the claims-

            made structure is fair and reasonable when compared to a hypothetical direct-pay

            structure – the question is whether the claims-made settlement is fair and reasonable

            when compared to no settlement at all. See Casey v. Citibank, N.A., 2014 WL 4120599,

            at *3 (N.D. N.Y. Aug. 21, 2014) (while direct payment may have resulted in more class




                                                  20
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 21 of 30




            members receiving some payment, “there is no reason to believe the defendants would

            agree to such terms” and thus the feasibility of direct payment “is irrelevant”).

         41. The Court further notes that rather than – as in some claims-made settlements – calling

            for a set pool of money from which attorneys’ fees and other costs are withdrawn and

            then providing a discounted amount to class members up to the cap the defendant

            agreed to set aside, the Settlement Agreement here makes whole and pays in full any

            Settlement Class Member who submits a claim. Such a structure is uniformly

            considered fair to members of a settlement class. See Cotton v. Hinton, 559 F.2d 1326,

            1334 (5th Cir. 1977) (where a class settlement made claimants whole, objections as to

            fairness were “meritless”); Krell v. Prudential Ins. Co. of Am. (in Re Prudential Ins.

            Co. Am. Sales Practice Litig. Agent Actions), 148 F.3d 283, 323 (3d Cir. 1998) (finding

            that settlement which required submission of claims and made whole such claimants

            was “extraordinary relief”).

         42. Thus, this Court finds that Rule 23(e)(2)(C)(ii) favors approval of the Settlement

            Agreement.

         43. The next factor is the “terms of any proposed award of attorney’s fees[.]” Fed. R. Civ.

            P. 23(e)(2)(C)(iii). Whether attorneys’ fees are reasonable on their own terms was

            addressed by Judge Snow’s R&R, see DE 371, and is further addressed below. The

            question under Rule 23(e)(2)(C) is whether attorneys’ fees impacted the substantive

            Settlement Agreement terms. See Cook, 2020 U.S. Dist. LEXIS 111956, at *24

            (explaining that Rule 23(e) analysis is “distinct from the Rule 23(h) analysis” and

            “addresses if and how the attorneys’ fees impacted the terms of the settlement.”).




                                                   21
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 22 of 30




         44. The Court notes that the Settlement Agreement provides that (1) if this Court awards

            an amount in attorneys’ fees, such amount is to be paid separately by GEICO and will

            have no impact on Settlement Class Members’ recoveries, and (2) payments to

            Settlement Class Members are not conditioned on an attorneys’ fees award. See

            Burrow, 2019 U.S. Dist. LEXIS 151734, at *27-28 (evaluating Rule 23(e)(2)(C)(iii)

            and finding significant that fees “are to be paid by the Defendants separately and in

            addition to the relief granted to the Settlement Class Members” and “was not

            conditioned on any amount of attorneys' fees being awarded by the Court”).

         45. Thus, this Court finds that Rule 23(e)(2)(C)(iii) favors approval of the Agreement.

         46. The final Rule 23 substantive factor addresses whether the Settlement Agreement

            equitable treats class members. See Fed. R. Civ. P. 23(e)(2)(D). Under the Settlement

            Agreement, Settlement Class Members are treated identically – every Class Member

            was to receive the same Notice, the same pre-filled Claim Form, and the same measure

            of damages. See Cook, 2020 U.S. Dist. LEXIS 111956, at *24 (finding that Rule

            23(e)(2)(D) favored settlement because “Settlement Class Members are treated

            identically insofar as it relates to Notice, Claim Forms, damages, and all other material

            ways.”). Additionally, the scope of the release identically impacts all Class Members.

            See Rule 23(e)(2)(D), Committee Notes on Rules - 2018 Amendment (courts should

            evaluate whether “the scope of the release may affect class members in different

            ways”). As such, this Court finds that Rule 23(e)(2)(D) weighs in favor of approval of

            the settlement.




                                                   22
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 23 of 30




         47. Finally, the Court notes that the two Bennett factors not subsumed within Rule 23 –

            i.e., the opposition to the settlement terms and the opinions of the Class Representatives

            – weigh in favor of settlement. First, not a single Class Member lodged an objection,

            and only one Class Member requested exclusion. DE 372-1 Admin. Decl. at ¶¶ 6-7, 20-

            22. These numbers strongly support the fairness, adequacy, and reasonableness of the

            Settlement Agreement. See Saccoccio, 297 F.R.D. at 694 (“[L]ow resistance to the

            settlement [through opt- outs and objections] ... weighs in favor of approving the

            settlement.”); Morgan v. Public Storage, 301 F. Supp. 3d 1237, 1252 (S.D. Fla. 2016)

            (one objection out of “hundreds of thousands class members” indicates strong

            satisfaction with settlement).

         48. Second, the opinions of Class Counsel and the Named Plaintiffs favors approval of the

            settlement. Class Counsel are experienced class action litigators with excellent

            reputations, and this Court is inclined to give weight to their opinions. See Thompson

            v. State Farm Fire & Cas. Co., 2019 U.S. Dist. LEXIS 6137, at *14-15 (M.D. Ga. Jan.

            14, 2019) (relying on opinion of Class Counsel because “[a]bsent fraud, collusion, or

            the like, the district court should be hesitant to substitute its own judgment for that of

            counsel.”) (quotations omitted); Cook, 2020 U.S. Dist. LEXIS 111956, at *26 (finding

            that the undersigned are “experienced and well-regarded class action litigators” and

            taking note of their opinions).

         49. Thus, this Court finds that the remaining Bennett factors favor approval of the

            Settlement Agreement.




                                                   23
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 24 of 30




         50. The Parties also jointly moved to vacate this Court’s summary judgment Order in Roth

            should this Court grant final approval of the Settlement Agreement. As this Court noted

            in granting preliminary approval, vacatur requires this Court to “determine the

            propriety of granting vacatur by weighing the benefits of settlement to the parties and

            to the judicial system (and thus to the public as well) against the harm to the public in

            the form of lost precedent.” See Hartford Cas. Ins. Co. v. Crum & Forster Specialty

            Ins. Co., 828 F.3d 1331, 1336 (11th Cir. 2016). Upon further review, the Court

            confirms and finds that, because the Order on summary judgment concerned an

            interpretation of GEICO-specific insurance policies under Florida law, is not binding

            precedent, and no precedential value is lost by vacating the Order, the benefits of

            settlement outweigh any harm to the public in the form of lost precedent.

      NOW, THEREFORE, IT IS FURTHER ORDERED AND ADJUDGED THAT

         51. The Court possesses subject matter jurisdiction over this Action and to approve the

            Settlement Agreement, and has personal jurisdiction over the Named Plaintiffs,

            Defendants, and all Settlement Class Members. The Motion for Final Approval of Class

            Action Settlement [DE 373] is GRANTED.

         52. The Court finds that all Rule 23(a) prerequisites for certification of a settlement class

            have been satisfied and that the Rule 23(b)(3) factors favor certification. As such, the

            Court certifies the Settlement Class for settlement purposes only.

         53. The Court finds that the terms of the Settlement Agreement are fair, reasonable, and

            adequate and consistent with due process requirements, and are in the best interests of

            the Settlement Class. The Settlement Agreement, including all terms and provisions,




                                                    24
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 25 of 30




            is approved in all respects, and the Parties are directed to effectuate the Agreement in

            accordance with its terms.

         54. The Court finds that, in negotiating, entering, and implementing the Settlement

            Agreement, Class Counsel and the Named Plaintiffs adequately, appropriately, and

            fairly represented and protected the interests of Settlement Class Members. As such,

            the Court reconfirms its appointment of the Named Plaintiffs and Class Counsel as

            Class Representatives, as set forth above.

         55. The Court approves the Opt-Out List submitted by the Settlement Administrator, which

            is found at [DE 372]. The Settlement Class Member who submitted the timely request

            for exclusion as set forth in the Opt-Out list is hereby excluded from the Settlement

            Class and shall neither share in nor be bound by the Final Order and Judgment. All

            other Settlement Class Members are adjudged to be members of the Settlement Class

            and are bound by this Final Order and Judgment and by the terms of the Settlement

            Agreement, including the terms and provisions of the Release set forth therein.

         56. This Action is DISMISSED WITH PREJUDICE in its entirety on the merits, without

            leave to amend and without additional fees or costs except those expressly provided in

            this Final Order and Judgment granting the Motion for Attorneys’ Fees, Costs, and

            Incentive Awards.

         57. Upon entry of this Final Order and Judgment, each Settlement Class Member (unless

            excluded by the Court), as well as their heirs, estates, trustees, executors,

            administrators, agents, beneficiaries, successors, assigns, and representatives, and/or

            anyone acting or purporting to act for them or on their behalf, regardless of whether




                                                   25
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 26 of 30




            they have submitted a Claim Form, shall be conclusively deemed to have fully released

            and discharged all Released Claims against all Released Parties as defined and set forth

            in the Settlement Agreement.

         58. Other than Defendants, Defendants’ counsel and their clerical/administrative

            personnel, Class Counsel and clerical/administrative personnel employed by Class

            Counsel, the Settlement Administrator and any clerical/administrative personnel

            employed by the Settlement Administrator, and such other persons as the Court finds

            necessary and may order after hearing or notice to counsel of record, no persons shall

            be permitted to access any Confidential Information, as defined and set forth in the

            Settlement Agreement. Class Counsel shall return to Defendants all Confidential

            Information pursuant to and in accordance with the terms of the Settlement Agreement.

         59. This Final Order and Judgment incorporates the remaining terms of the Settlement

            Agreement, including all provisions addressing jurisdiction to enforce the terms and

            provisions of the Settlement Agreement, admissibility of the Settlement Agreement, as

            well as the requirements for properly and timely submitting claims.

         60. The Parties filed a Joint Motion to Vacate Summary Judgment Order [DE 354], which

            the Court granted on August 27, 2020. See [DE 367]. As set forth in the Joint Motion,

            vacatur of various Orders entered in Roth and Joffe is a material term of the Settlement

            Agreement if this Court were to grant final approval of the Settlement Agreement.

            Under the terms of the Settlement Agreement, should the Agreement not be finally

            approved, the Parties agreed such Orders should not be vacated – or, if vacated, should

            be reinstituted. Because this Final Order and Judgment grants final approval of the




                                                   26
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 27 of 30




            Settlement Agreement, and for the reasons set forth in the Joint Motion (DE 354) and

            this Court’s indicative ruling [DE 363 at pgs. 4-5 of 7], the Court confirms the Joint

            Motion to Vacate is granted and the orders listed in [DE 367] are hereby VACATED.

         61. Plaintiffs have requested that the Court approve attorneys’ fees of $8,700,000, costs of

            up to $350,000, and service awards of $10,000 to each of the Named Plaintiffs.

            Plaintiffs supported their request and petition with voluminous records, declarations,

            and supporting materials. See [DE 369].

         62. This Court has reviewed all declarations and evidence submitted in support thereof,

            including the declaration submitted by attorneys’ fee, costs, and incentive award expert

            Robert Josefsberg, an experienced and well-regarded class action and complex

            litigation practitioner.

         63. The Court has also reviewed the R&R submitted by Judge Snow, see [DE 371], who

            recommended that the Court grant the Motion and award attorneys’ fees of $8,700,000,

            costs of $350,000, and Service Awards of $10,000 to each of the Named Plaintiffs. No

            objections to the R&R have been filed, and as such, the R&R is subject to review for

            clear error. See Macort v. Prem, Inc., 208 Fed. Appx. 781, 784 (11th Cir. 2006) (absent

            a timely-filed objection, a district court need only review a Report and

            Recommendation for clear error).

         64. This Court analyzed the R&R concerning the application for attorneys’ fees for clear

            error under applicable Eleventh Circuit law. See Camden I Condominium Ass'n, Inc.

            v. Dunkle, 946 F.2d 768 (11th Cir. 1991); Poertner v. Gillette Co., 618 Fed. Appx. 624




                                                   27
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 28 of 30




            (11th Cir. 2015); Muransky v. Godiva Chocolatier, Inc., 905 F.3d 1200 (11th Cir.

            2018).

         65. The Court agrees that attorneys’ fees of $8,700,000 are reasonable under the analysis

            prescribed by Eleventh Circuit law and under Rule 23(h), whether calculated as a

            percentage only of the cash benefits secured by the terms of the Settlement Agreement

            (in which case it represents 21.56% of the estimated benefits conferred) or as a

            percentage of the overall benefit including prospective relief (18.45% when including

            only one year of prospective relief, and 10.8% of the benefit when including five years

            of prospective relief), particularly given the favorable non-monetary terms of the

            Agreement, including the robust Notice and narrowly-tailored release. See Faught v.

            American Home Shield Corp., 668 F.3d 1233, 1242 (11th Cir. 2011) (“[T]his Court has

            often stated that the majority of fees in these cases are reasonable where they fall

            between 20-25% of the claims.”) (citations and quotations omitted).

         66. Moreover, the fee amount is reasonable if considered under Fla. Stat. § 627.428, as

            interpreted by Florida Patient’s Compensation Fund v. Rowe, 472 So. 2d 1145, 1150-

            51 (Fla. 1985), Standard Guaranty Insurance Co. v. Quanstrom, 555 So. 2d 828, 834

            (Fla. 1990), Joyce v. Federated Nat’l Ins. Co., 228 So. 3d 1122 (Fla. 2017), and based

            on the declarations submitted by Mr. Josefsberg and Class Counsel. The Court notes

            that the amount sought here, given the rates previously approved by the Court and the

            number of hours reasonably expended, would apply a multiplier of 1.43, which is less

            than the 2.0 multiplier this Court previously found reasonable in Roth.




                                                  28
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 29 of 30




         67. The Court also agrees that in this case, state law governs the issue of Service Awards,

            see Chieftain Royalty Co. v. Enervest Energy Insitutional Fund XIII-A, L.P., 861 F. 3d

            1182, 1195 (10th Cir. 2017), and thus that Johnson v. NPAS Sols., LLC, 975 F.3d 1244

            (11th Cir. 2020) is inapplicable to this case. Here, Florida law permits providing

            Service Awards to class representatives. See Altamonte Springs Imaging, L.C. v. State

            Farm Mut. Auto. Ins. Co., 12 So. 3d 850, 857 (Fla. 3rd DCA 2009).

         68. The Notice informed the Settlement Class Members of the amount of attorneys’ fees,

            costs, and service awards sought in Settlement Agreement. Admin. Decl. at exhibits A,

            C, and E. Plaintiffs’ filed their Motion for Attorneys’ Fees, Costs, and Service Awards

            and posted the Motion on the Settlement Website on September 28, 2020, making it

            available to Settlement Class Members who were first mailed notice the same day

            (Roth, DE 369). Out of the 17,498 notices mailed to Settlement Class Members, not a

            single objection was made.

         69. The Court finds the R&R does not contain clear error. As such, and for the additional

            reasons set forth herein, the Court hereby ADOPTS AND APPROVES the Report and

            Recommendation [DE 371] and hereby GRANTS the Motion for Attorneys’ Fees,

            Costs, and Service Awards [DE 369]. The Court awards $8,700,000 in attorneys’ fees

            and $350,000 in costs to Class Counsel and awards a service award of $10,000 each to

            Ms. Roth, Ms. Joffe, Ms. Rodriguez, and Ms. Schertzer. Defendants shall pay the

            attorneys’ fee and costs award to Class Counsel and the Service Awards to the Class

            Representatives pursuant to and in accordance with the terms of the Settlement

            Agreement.




                                                   29
Case 0:16-cv-62942-WPD Document 375 Entered on FLSD Docket 02/08/2021 Page 30 of 30




         70. The Court reaffirms its appointment of JND Legal Administration as the Settlement

             Administrator.

         71. Without in any way affecting the finality of this Final Judgment, and without affecting

             the jurisdiction of any other court to enforce the Settlement Agreement as appropriate,

             this Court shall retain continuing jurisdiction over this Action for purposes of:

             (a) enforcing the terms and provisions of the Settlement Agreement, (b) hearing and

             resolving any application by a Party for a settlement bar order, and/or (c) any other

             matter related or ancillary to any of the foregoing.

         72. In accordance with Fed. R. Civ. P. 54, this Final Order and Judgment is a final and

             appealable order.

         73. This case shall remain CLOSED.

         74. The Clerk is DIRECTED to DENY AS MOOT any pending motions not addressed

             in this Final Order and Judgment in Case No. 16-62942-CIV-WPD Roth v. GEICO

             General Ins. Co. and in Case No. 18-61361-WPD Joffe et al v. GEICO Indemnity

             Company et al.

             DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

      this 8th day of February, 2021.




      Copies furnished to:
      Counsel of Record




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